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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS


SYDNEY NICOLE LLC                   §
AND SYDNEY NICOLE                   §
GIFFORD,                            §
                                    §            CIVIL ACTION NO.:
     Plaintiffs,
                                    §
v.                                  §            1:24-cv-423
ALYSSA SHEIL LLC AND                §
ALYSSA SHEIL,                       §
                                    §            JURY
     Defendants.                    §
                                    §




                EXHIBIT
                   B
                  TO
               COMPLAINT
         Case 1:24-cv-00423-RP Document 1-2 Filed 04/22/24 Page 2 of 45




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS


 SYDNEY NICOLE LLC                              §
 AND SYDNEY NICOLE                              §
 GIFFORD,                                       §
        Plaintiffs,                             §                 CIVIL ACTION NO.:
                                                §
 v.                                             §                 1:24-cv-423
 ALYSSA SHEIL LLC AND                           §
 ALYSSA SHEIL,                                  §
                                                §                 JURY
        Defendants.                             §
                                                §


        PLAINTIFF SYDNEY NICOLE GIFFORD’S DECLARATION IN SUPPORT OF
                                COMPLAINT
       I, Sydney Nicole Gifford, declare the following under penalty of perjury:

1. I am over 18 years of age and am competent to make this declaration. All statements are based
   on my personal knowledge.
2. Attached hereto at Tab 1 is a true and correct copy of United States Copyright Registration No.
   VA 2-380-575 having an effective registration date of January 25, 2024 for 140 published
   photographs.
3. True and correct copies of each of the 140 photo works that were uploaded as part of
   Registration No. VA 2-380-575 are located at:
   https://www.dropbox.com/scl/fo/hg0z3laek50q2iyzocg2d/ALX3qdoLvlkvfXUzhvoLq3A?rlk
   ey=msugu46x88pirrnfk7ot3wydl&dl=0.
4. Attached hereto at Tab 2 are true and correct copies of United States Copyright Registration
   Nos.:
       a. PAu 4-211-810 having an effective registration date of January 11, 2024 for an entire
           motion picture titled “One Home Find You Need From Amazon”;
       b. PA 2-462-341 having an effective registration date of January 25, 2024 for a video
          titled “AcrylicPanner.2023.04.17”;
       c. Reg. No. PA 2-462-344 having an effective registration date of January 25, 2024 for a
          video titled “BagsHaul.2023.12.18”;
       d. Reg. No. PA 2-462-346 having an effective registration date of January 25, 2024 for a
          video titled “CheckeredSet.2023.03.03”;
       e. Reg. No. PA 2-462-351 having an effective registration date of January 25, 2024 for a
          video titled “BowTray.2023.01.15”;
       f. Reg. No. PA 2-462-357 having an effective registration date of January 25, 2024 for a
          video titled “Loungewear.2023.10.11”;
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       g. Reg. No. PA 2-462-360 having an effective registration date of January 25, 2024 for a
          video titled “MakeupBag.2023.03.18”;
       h. Reg. No. PA 2-462-362 having an effective registration date of January 25, 2024 for a
          video titled “PhoneCases.2023.10.22”;
       i. Reg. No. PA 2-462-364 having an effective registration date of January 25, 2024 for a
          video titled “OliveTree.2023.06.01”;
       j. Reg. No. PA 2-462-366 having an effective registration date of January 25, 2024 for a
          video titled “GiftsUnder50.2023.12.05”;
       k. Reg. No. PA 2-462-374 having an effective registration date of January 25, 2024 for a
          video titled “ClosetReset.2023.01.02”;
       l. Reg. No. PA 2-462-375 having an effective registration date of January 25, 2024 for a
          video titled “TheTox.2023.10.19”;
       m. Reg. No. PA 2-462-377 having an effective registration date of January 25, 2024 for a
          video titled “TeddyBench.2022.11.07”;
       n. Reg. No. PA 2-462-378 having an effective registration date of January 25, 2024 for a
          video titled “GiftsforHim.2023.11.10”;
       o. Reg. No. PA 2-462-380 having an effective registration date of January 25, 2024 for a
          video titled “DreamPairs.2023.12.01”;
       p. Reg. No. PA 2-462-382 having an effective registration date of January 25, 2024 for a
          video titled “FashionHaul.2023.01.18”;
       q. Reg. No. PA 2-462-383 having an effective registration date of January 25, 2024 for a
          video titled “LampSetUp.2023.01.28”; and
       r. Reg. No. PA 2-462-385 having an effective registration date of January 25, 2024 for a
           video titled “FlowerTop.2023.05.20”.
5. True and correct copies of each of the video works that were uploaded as part of each of the
   above-referenced videos are found at
   https://www.dropbox.com/scl/fo/8n0r1xbte1opz1e2tt0sv/AFfSkeY_aVH3qmT6Ll67pGU?rlk
   ey=m0ailm0zprl3dxptsaahpzlpp&dl=0.
6. I have never given permission, authority, right, or license to any of the Defendants to use,
   distribute, publish, copy, or otherwise commercialize any of my copyrighted works referenced
   herein.

                                                                                              21
I declare under penalty of perjury that the foregoing is true and correct. Executed on April ___,
2024 in Austin, Travis County, Texas.


_______________________________
Sydney Nicole Gifford
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                     FOR THE WESTERN DISTRICT OF TEXAS


SYDNEY NICOLE LLC                         §
AND SYDNEY NICOLE                         §
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ALYSSA SHEIL,                             §
                                          §                JURY
       Defendants.                        §
                                          §


     PLAINTIFF SYDNEY NICOLE GIFFORD’S DECLARATION IN SUPPORT OF
                             COMPLAINT




                               TAB 1
                        Copyright Registration No. VA 2-380-575
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                     IN THE UNITED STATES DISTRICT COURT
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AND SYDNEY NICOLE                        §
GIFFORD,                                 §
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ALYSSA SHEIL LLC AND                     §
ALYSSA SHEIL,                            §
                                         §                  JURY
       Defendants.                       §
                                         §


     PLAINTIFF SYDNEY NICOLE GIFFORD’S DECLARATION IN SUPPORT OF
                             COMPLAINT




                             TAB 2
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